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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:12-cr-00213- AWI-BAM
12                                 Plaintiff,               ORDER RE CORRECTION OF
                                                            JUDGMENT AS TO ARLENE J.
13          v.                                              MOJARDIN
14   ARLENE JEANETTE MOJARDIN,
15                                 Defendant.
16
            This matter came before the Court on the United States’ request to correct the first amended
17
     judgment as to defendant Arlene Jeanette Mojardin (Docs. 254, 254-1) to reflect that FHLMC
18
     (Freddie Mac) is the correct restitution payee as to the “130 8th St.” and “134 8th St.” properties.
19 Pursuant to Rule 36 of the Federal Rules of Criminal Procedure, and for good cause shown, the
20 Court hereby corrects the first amended judgment entered Aug. 12, 2015 (Docs. 254, 254-1), and

21 orders that the $530,735.71 in restitution previously ordered as to these properties is payable to

22 FHLMC (Freddie Mac), 8200 Jones Branch Drive, MS 202, McLean, VA 22102. This Order does
   not otherwise modify the judgment or restitution ordered in this case.
23

24
     IT IS SO ORDERED.
25
     Dated: April 24, 2018
26                                                SENIOR DISTRICT JUDGE
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